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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF OKLAHOMA


1). SCOTT D. LATTA,                                  )
2). KRISTI R. LATTA, and                             )
3). MARGARET E. WILSON, on behalf                    )
of Themselves and all others similarly situated,     )
                                                     )
                  Plaintiffs,                        )
                                                     )
-vs-                                                 )
                                                     )
1) . NATIONAL ENTERPRISE SYSTEMS,                    )
INC., An Ohio Corporation,                           )
2). JOHN DOE, a/k/a ETHAN WILSON,                    )
3). JOHN DOE, a/k/a TERRY,                           )
4). JANE DOE NO. 1,                                  )
5). JANE DOE NO. 2,                                  )
                                                     )
                  Defendants.                        )

                                          COMPLAINT
                                         (Jury Trial Demanded)
                                              I. Introduction
       1. This is an action for damages brought by an individual consumers for
Defendants’ violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
(hereinafter "FDCPA"), which prohibit debt collectors from engaging in abusi ve,
deceptive, and unfair practices, negligence and intentional infliction of severe emotional
distress.
                                             II. Jurisdiction
       2 . Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) with jurisdiction of the state
causes of actions under ancillary jurisdiction.
                                                  III. Parties
       3 . Plaintiff, SCOTT D. LATTA, (hereinafter "SCOTT LATTA") is a natural person residing in
the State of Oklahoma.
   4.       Plaintiff, KRISTI R. LATTA, (hereinafter "KRISTI LATTA") is a natural person
residing in the State of Oklahoma.
   5.       Plaintiff, MARGARET E. WILSON, (hereinafter "MARGARET WILSON") is a
natural person residing in the State of Indiana.
   6.       Defendant, NATIONAL ENTERPRISE SYSTEMS, An Ohio Corporation, (hereinafter
"NATIONAL ENTERPRISE"), is a corporation engaged in the business of collecting
debts in this state with its principal place of business located at 29125 Solon Road,
Solon, Ohio 44139. NATIONAL ENTERPRISE is in the business of collecting debts using
the mails and telephone and said Defendant regularly attempts to collect debts alleged to be


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due another.
   7.   Defendant, JOHN DOE, a/k/a ETHAN WILSON, is an agent and employee of
NATIONAL ENTERPRISE and is engaged in collection of debts for his employer.
   8.   Defendant, JOHN DOE, a/k/a TERRY, is an agent and employee of NATIONAL
ENTERPRISE and is engaged in collection of debts for his employer.
   9.   Defendant, JANE DOE, NO. 1, is an agent and employee of NATIONAL
ENTERPRISE and is engaged in collection of debts for her employer.
   10. Defendant, JANE DOE, NO. 2, is an agent and employee of NATIONAL
ENTERPRISE and is engaged in collection of debts for her employer.
                                       IV. Factual Allegations
   11. Plaintiff, MARGARET E. WILSON, allowed SCOTT LATTA to use her Chase Bank USA,
N.A. credit card. When Plaintiff, MARGARET WILSON could not pay for the charges, she started
to receive letters and harassing telephone calls from collectors of Defendant, NATIONAL
ENTERPRISE SYSTEMS.
   12. At no time during any telephone conversation in attempting to collect the debt did
employees of Defendant, NATIONAL ENTERPRISE SYSTEMS, provide the necessary debt
warnings mandated by the FDCPA (that the communication was from a debt collector). This is true
as to actual conversations with MARGARET WILSON or the numerous messages left on her
answering machine by Defendant, JANE DOE NO. 1. The number of said telephone calls were
excessive and meant to harass and oppress Plaintiff, MARGARET WILSON. Further, employees
of Defendant, NATIONAL ENTERPRISE SYSTEMS harassed this Plaintiff (a 72 year old) in
forcing her to agree to transfer the Chase indebtedness to another credit card.       Further, when
Defendant requested an affordable payment plan to pay off the indebtedness, said collectors of
Defendant, NATIONAL ENTERPRISE SYSTEMS ignored said requests. Further, said collectors of
Defendant, NATIONAL ENTERPRISE SYSTEMS, threatened legal action, garnishment of
MARGARET WILSON’s checking accounts and seizure of her assets. Harassing telephone calls
continued.
   13. Harassing tel ephone call s wer e made t o Pl ai nt i f f , SCOTT LATTA at home and at
his place of employment. At no time during any telephone conversation in attempting to
collect the debt did employees of Defendant, NATIONAL ENTERPRISE SYSTEMS, provide
the necessary debt warnings mandated by the FDCPA (that the communication was from a debt
collector). Further, Pl ai nt i f f , SCOTT LATTA, has never received any written notification of his
rights to dispute the alleged debt. Further, when Defendant requested an affordable payment plan to
pay off the indebtedness, said collectors of Defendant, NATIONAL ENTERPRISE SYSTEMS
ignored said requests and indicated payments were not an option. In a telephone conversation of
April 17, 2007 Defendant, JOHN DOE, a/k/a TERRY, advised his subordinates to “Now what, don’t
talk to this man, sue her (Plaintiff, MARGARET WILSON), file is closed. Defendant, JOHN


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DOE, a/k/a TERRY then hung up on Pl ai nti f f , SCOTT LATTA.
   14. Harassing tel ephone call s wer e made t o Pl ai nt i f f , KRISTI LATTA at her home. At
no time during any telephone conversation (left on the answering machine or in actual
conversations) in attempting to collect the debt did employees of Defendant, NATIONAL
ENTERPRISE SYSTEMS, provide the necessary debt warnings mandated by the FDCPA (that the
communication was from a debt collector). Further, Pl ai nti f f , KRISTI LATTA, has never received
any written notification of his rights to dispute the alleged debt. Further, when Defendant requested
an affordable payment plan to pay off the indebtedness, said collectors of Defendant, NATIONAL
ENTERPRISE SYSTEMS ignored said requests and indicated payments were not an option. In a
telephone conversation of April 23, 2007 Defendant, JANE DOE NO 2, advised Pl ai nti f f , KRISTI
LATTA, that she was in the process of getting her relative MARGARET WILSON, sued and
indicated that there was already a “case against her”. Defendant, JANE DOE NO 2, further
advised that the Plaintiffs would be responsible to not only pay the principal due, but attorney’s fees
and court costs.       Defendant, JANE DOE NO 2, further stated that MARGARET WILSON had
other assets “they would seize at this time”. Defendant, JANE DOE NO. 2 then hung up on
Pl ai nt if f , KRISTI LATTA.
   15. All Plaintiffs have continued to receive te l e p h o n e m e s s a g e s o n t h e i r a n s w e r i n g
m a c h i n e f r o m t h e c o l l e c t o r s o f Defendant, NATIONAL ENTERPRISE.                At no time
during the telephone messages left on the answering machines were the necessary debt warnings
mandated by the FDCPA provided.
                                            V. CIaim for Relief
   16. Plaintiffs repeat and reallege and incorporates by reference paragraphs one (1) through
fifteen (15) above listed.
   17. Defendants, NATIONAL ENTERPRISE, and its employee/agents, JOHN DOE, a/k/a
ETHAN WILSON, JOHN DOE, a/k/a TERRY, JANE DOE NO. 1 and JANE DOE NO. 2,
violated the FDCPA. Said violations include but are not limited to the following:
           (a)      Defendants violated 15 U.S.C. § 1692e(5) by threatening to take action that
could not legally be taken or that was not intended to be taken (i.e. a garnishment and seizure of
assets).
           (b)      Defendants violated 15 U.S.C. § 1692e(11) by failing to advise the
Plaintiffs during telephonic communications that said communication were from a debt
collector and provide other necessary notices as to their rights to debt validation.
           (c)      The Defendants violated 15 U.S.C. § 1692f by the use of unfair and
unconscionable means to collect or attempt to collect a debt.
           (d)      T he Def e nda nt s vi ol at ed 15 U. S. C . § 16 92 e( 10 ) b y us i n g f al s e
representations and deceptive means to collect or attempt to collect the alleged
indebtedness, especially as to Plaintiff, MARGARET WILSON ( a 72 year old).

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       (e)       The acts of Defendants were done intentionally, maliciously and with bad faith
       (f)       The acts of Defendants were done intentionally, maliciously and with bad
faith, were grossly negligent and were done to harass, oppress and abuse the Plaintiffs.
       (g)       The acts     of   Defendant s     wer e    grossl y   negli gent   as     Def endant ,
NAT IONAL ENT ERPRISE , f ai l ed t o pr oper l y t r ai n and educate t hei r coll ect ors ,
s uch as Defendants, JOHN DOE, a/k/a ETHAN WILSON, JOHN DOE, a/k/a TERRY,
JANE DOE NO. 1 and JANE DOE NO. 2, in the mandates of the Fair Debt Collection
Practices Act.
       (h)       The acts of Defendant, NATIONAL ENTERPRISE, were grossly negligent
as it failed to properly monitor their collectors such as Defendants, JOHN DOE, a/k/a
ETHAN WILSON, JOHN DOE, a/k/a TERRY, JANE DOE NO. 1 and JANE DOE NO. 2,
to confirm that their collectors were following the mandates of the Fair Debt Collection
Practices Act.
   18. As a result of the above violations of the FDCPA, the Defendants, are liable to the
Plaintiffs and to each of them, for actual damages in the amount of One hundred, Dollars
and 00/100s ($100.00), costs and attorney's fees.
   19. As a result of the above violations of the FDCPA, the Defendants are liable to the Plaintiffs
and to each of them, for statutory damages in the amount of One Thousand Dollars ($1,000.00), costs
and attorney's fees.
   20. As a result of the intentional infliction of emotional distress inflicted on the Plaintiffs,
Defendants, are liable to the Plaintiffs and to each of them, for actual damages in the amount of One
Hundred Dollars and 00/100s ($100.00), costs and attorney's fees.
   21. As a result of the intentional infliction of emotional distress inflicted on the Plaintiffs,
Defendants, are liable to the Plaintiffs and each of them, for punitive damages in an amount to exceed
Ten Thousand Dollars ($10,000.00), costs and attorney's fees.
   22. As a result of the above mentioned gross negligence of the Defendants are liable to the
Plaintiffs and each of them, for actual damages in the amount of One Hundred
Dollars and 00/100s ($100.00), costs and attorney's fees.
   23. As a result of t he a bove ment i oned gr os s negl i gence of t he Def endant s , ar e
liable to the Plaintiffs and each of them, for punitive damages in an amount to exceed Ten Thousand
Dollars ($10,000.00), costs and attorney's fees.
                                         VI. Class Allegations
   24. This action is brought on behalf of a class. This class which Plaintiffs seeks to represent is
well defined as all persons, who, during the one year preceding the filing of this Complaint, were
contacted concerning an alleged debt and were never informed of their rights under the FDCPA (i.e.,
that the communication was from a debt collector), and were harassed and intimidated by indicating
that their assets would be seized, Further the class is defined as all persons who had telephone


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messages left on their answering machines by the Defendants but were never informed of their rights
under the FDCPA (i.e., that the communication was from a debt collector).
   25. This action has been brought and may be maintained pursuant to FRCP 23(a)
(1-4), 23 (b) (1), (2), or (3), and the case law hereunder.
   26. There a r e c o m m o n q u e s t i o n s o f l a w o r f a c t , w h i c h p r e d o m i n a t e o v e r a n y
individual questions. The predominant common legal and factual issues include, but are not limited to
the following:
        a)    Whether consumers were contacted by debt collectors who failed to give the necessary
warnings and notices required by federal law;
        b)    Whether consumers were contacted by debt collectors who failed to advise the consumer
during a telephonic communication that said communication was from a debt collector:
        c)    Whether consumers were contacted by debt collectors who failed to advise the consumer
during a telephonic communication on an answering machine that said communication was from a
debt collector:
        d)    Whether the Defendant debt collectors threatened legal action, garnishment,
or ot he r actions t hat they would not , or coul d not take, t o gain an unfai r advantage
in attempting to coerce the consumer into paying an alleged debt.
        e)    Whether the Defendant debt collectors threatened to seize assets or other
acti ons t hat t hey would not , or coul d not take, t o gai n an unfair advantage in
attempting to coerce the consumer into paying an alleged debt.
   27. Plaintiffs’ claims are those typical of those of the class as all claims are based upon the same
or similar legal theories (FRCP 23 (a) (3)).
   28. Plaintiffs will fairly and adequately represent the class as their interests do not
c onf l i ct wi t h t he i nt er es t s o f me mb er s of t h e cl as s t he y s eek t o r epr es e nt.
F ur t her Plaintiffs have retained counsel competent and experienced in complex civil
litigation and class action cases. (FRCP 23 (a) (4)).
   29. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy. Plaintiffs will fairly and adequately represent the
class as their interests do not conflict with the interests of members of the class they
seek to r ep r es e nt . Fu r t her Pl ai nt i f f s have r et ai ned c oun s el co mp et e nt and
e xper i en ced i n complex civil litigation and class action cases (FRCP 23 (a) (4)).
   30. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy.                 Additionally, individualized litigation presents a
potential for inconsistent or contradictory judgments. Individualized litigation increases
the delay a nd exp ens e t o al l par t i es and t h e c our t s ys t e m ne ce s s i t at e d b y t he
c o mpl e x l e gal i s s u e s o f t h e c a s e .   By contrast, the class action presents far
f e w e r m a n a g e m e n t di fficult ies and pr ovides t he benefit s of s ingl e adj udi cati on,

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economy of scale, and comprehensive supervision by a single court. Lastly,
Defendants have acted on grounds generally applicable to the class thereby making
final appropriate final relief, whether it be injunctive or damages with respect to the class as a
whole (FRCP 23 (b) (3)).
    WHEREFORE, Plaintiffs SCOTT D. LATTA, KRISTI R. LATTA and MARGARET E.
WILSON, respectfully prays judgment be entered against the Defendants, NATIONAL
ENTERPRISE SYSTEMS, INC., An Ohio Corporation, JOHN DOE, a/k/a ETHAN WILSON,
JOHN DOE, a/k/a TERRY, JANE DOE NO. 1 and JANE DOE NO. 2, for:
     a) The issuance of an Order certifying this action to be a class action pursuant to FRCP 23 on
behalf of the class defined herein and designating Plaintiffs and their counsel as representatives
thereof;
     b) Awarding Plaintiffs and the members of the class compensatory damages in an exact amount
which will be proven at trial, together with interest thereon;
     c) Awarding Plaintiffs and the members of the class maximum statutory damages as provided
under the Fair Debt Collection Practices Act including costs and a reasonable attorney’s fee;
     d) Awarding Plaintiffs and the members of the class maximum statutory damages for gross
negligence including costs of this action and a reasonable attorney’s fee.
     e) Awarding Plaintiffs and the members of the class maximum statutory damages for intentional
infliction of emotional distress including costs of this action and a reasonable attorney’s fee.
     f) Awarding Plaintiffs and the members of the class punitive damages in excess of $10,000.00,
said amount to be determined at trial.
     g) Enjoining the Defendants from continuing the unfair and deceptive practices complained of in
this action
     h) Such other relief as may be just and proper.
                                                   SCOTT D. LATTA, KRISTI R. LATTA and
                                                   MARGARET E. WILSON,
                                                   Plaintiffs,


                                                   /s/   Joseph B. Miner
                                                   JOSEPH B. MINER OBA #6249
                                                   CHRISTOPHER J. PETERSEN OBA #14085
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                                                   ATTORNEYS FOR PLAINTIFFS

JURY TRIAL DEMANDED
ATTORNEY'S LIEN CLAIMED


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